Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 1 of 22

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. jw 1

(To be supplied by the court) “ATED g he & is
EN se ° TRIO
8 COLe 9 COUR;
OCT 29 2019
Hazhar A. Sayed ; PlaintifEF Pi. ee.
mone CLiipn-
Vv. Te
SGT. Tafoya, Mail Room C/O, F.C.F., , (Individual Capacity),
SGT. Patrick, Mail Roon C/9, F.C,F. » (Individual Capacity),

Yevette Brown, F.C.F., Law Library C/O, , (Individual Capacity),

John/Jane Doe, F.C.F., Dental Officer/ Dentist, (Individual Capacity)

, Defendant(s).

(List each named defendant on a separate line.)

Jury Trial Demande

PRISONER COMPLAINT

(Rev. 1/30/07)
Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 2 of 22

A. PARTIES

’ Hazhar A, Sayed, #133608, Fremont Corr. Facility, Box: 999,
(Plaintiff's name, prisoner identification number, and complete mailing address)

Canon City, CO. 81215-0999

2. Sgt. Tafoya, Mail Room Correctional Officer, Fremont Corr. Facility,
(Name, title, and address of first defendant)

BOX: 999, Canon City, CO. 81215 (named in individual capacity)

At the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of state law?xx Yes __ No (CHECK ONE). Briefly explain your answer:

Pursuant to the authority granted the Executive Director of

the Colo. D.O.Cc., under § 17-1-101 et seq., C.R.S.

3. Sgt. Patrick, Mail Rooa Correctional Officer, Fremont Corr.
(Name, title, and address of second defendant)
Facility, Box: 999, Canon City, CO. 81215 (named in individual capacity)
At the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of state law? XX Yes ___No (CHECK ONE). Briefly explain your answer:
Pursuant to the authority granted the Executive Director of the
Colo. D.O.Cc., under § 17-1-101 et seq., C.R.S.
4.

Yevette Brown, Fremont Corr. Facility, Law Library Officer,
(Name, title, and address of third defendant)

Box: 999, Canon City, CO. 81215 (named in individual capacity)

At the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of state law? XX Yes __ No (CHECK ONE). Briefly explain your answer:

Pursuant to the authority granted the Executive Director of the

Colo, D.O.C. under § 17-1-101 et seq., C.R.S.

(If you are suing more than three defendants, use extra paper to provide the information
requested above for each additional defendant. The information about additional defendants
should be labeled “A. PARTIES.”)

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Pantin’ (continued):

5. Unknown John/Jane Doe, Fremont Correctioanl Facility, Dentist/Dental

Officer, Box: 999, Canon City, CO. 81215 (individual capacity)

At the time the allegations in this compalint arose, the defendant

was acting under the Colorads »f State law, pursuant to the authority
grant the Executive Director of the Colo. D.O.C. under § 17-1-101 et seq.,
C.R.S.
Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 4 of 22

B. JURISDICTION

1. lL assert jurisdiction over my civil rights claim(s) pursuant to: (check one if applicable)

XX 28 U.S.C. § 1343 and 42 U.S.C. § 1983 (state prisoners)

28 U.S.C. § 1331 and Bivens v. Six Unknown Named Agents of Fed. Bureau of
Narcotics, 403 U.S. 388 (1971) (federal prisoners)

2. J assert jurisdiction pursuant to the following additional or alternative statutes (if any):

N/A

C. NATURE OF THE CASE

BRIEFLY state the background of your case. If more space is needed to describe the nature of
the case, use extra paper to complete this section. The additional allegations regarding the nature
of the case should be labeled “C. NATURE OF THE CASE.”

This case involves three separate claims, i.e., 1) denial of freedom

of communication as allowed under the First Amendment, through
rejection of mail allowed under (D.0.C) policy as well; 2) denial of
the ability to access the Courts and prepare propecly legal pleadings
as guaranteed under the First Amendment; and 3) deliberate indifference

to a serious medical need as guaranteed under the protections afforded

by the Sighh Anandment.

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D. CAUSE OF ACTION

State concisely every claim that you wish to assert in this action. For each claim, specify the
right that allegedly has been violated and state all supporting facts that you consider important,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific cases to support your claim(s). If additional space is
needed to describe any claim or to assert more than three claims, use extra paper to continue that
claim or to assert the additional claim(s). The additional pages regarding the cause of action
should be labeled “D, CAUSE OF ACTION.”

Denial of Freedom to Communicate as allowed under the
1. Claim One: pirst amendment of the United States Constitution.

Supporting Facts:

In February of 2013, both Sgt. Patrick and Sgt. Tafoya of the Fremont
Correctional Facility's mail room, rejected and returned to sender an
ancoming letter which contained a blank captioned | form for legal use.
TE was in Get Smt S Bra eent’ come by Another’ peksoa at Another
correctional facility in this State as a format for me to go by when
filing a notice of appeal. There was no legitimate penological purpose
or policy that prohibits any party from sending me such a sample
document. It was rejected under the guise that it was another offender's
property, i.e., legal work, however, there was no name on it and in
essence it was the same as any other mail or letter. As a result, my
First Amendment rights to freely communicate with other persons was
violated through these correctional officer's arbitrary and

Capracious actions.

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Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 6 of 22

Denial of ability to access the Courts and communicate
2. ClaimTwo: with others in violation of First Amendment rights

Supporting Facts:

In July of 2013, I requested to access the Fremont Correctional
Facility's law library with another inmate, who until several days
earlier, had been on the West side of the facility (but was subsequently
moved to the East side). Prior to this, we had accessed the law

library together. I was denied the ability to access the law library

with this inmate, who was assisting me in another legal matter.

Neither one of of our custody levels had changed and only the fact
that the other inmate had moved to the East side of the facility had
changed. Yet I was denied the ability to meet with this inmate.

There is no legitimate legal or penological purpose served by
disallowing this and as a result, I was denied the ability to freely
communicate with this inmate and to access the courts. All inmates

are located in the same facility and mix for a large number of things,
such as religious services, programs, educational purposes, etc.

As a result, my First Amendment rights were violated. Ms. Yevette
Brown was the law librarian at this time and personally refused my

repeatedly requests to be scheduled with this other inmate.

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Deliberate indifference to a serious medical need in

3. Claim Three: yiolation of Eigth Amendment protections.

Supporting Facts:

In May of 2012, I submitted a medical/dental kite to (F.C.F)'s dental
services. In that kite I request that I be seen for ongoing dental
issues and to have my teeth cleaned again. The kite was rejected
under the guise that I had my teeth cleaned approximately 9-months
earlier and wasn't eligible for having them cleaned until 12-months
had passed. The inherent problem here.is that the fact that I was
having problems with my teeth was ignored in its entirety and even

if I requested to be placed on the list for tooth cleaning, it would
take many months for me to be seen, hence the one year would have
passed by the time I was seen. Policy allows that I be seen for
medical issues and the Eigth Amendment requires that I be cared for
medically. To date I have not been’ seen and I still suffer from tooth
problems which have caused me to suffer a great deal.

The dentist/medical officer refusing me is unknown at this time and
will be properly named thereby removing the John/Jane Doe defendant
at a latter point.
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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were incarcerated? yy Yes __ No (CHECK ONE). If your answer is "Yes," complete this
section of the form. If you have filed more than one lawsuit in the past, use extra paper to
provide the necessary information for each additional lawsuit. The information about additional
lawsuits should be labeled "E. PREVIOUS LAWSUITS."

1. Name(s) of defendant(s) in prior
lawsuit:

2. Docket number and court name:

3. Claims raised in prior lawsuit:

4. Disposition of prior lawsuit (for
example, is the prior lawsuit still
pending? Was it dismissed?):

5. Ifthe prior lawsuit was dismissed,
when was it dismissed and why?

6. Result(s) of any appeal in the prior
lawsuit:

F. ADMINISTRATIVE RELIEF

1. Is there a formal grievance procedure at the institution in which you are confined?

XX_ Yes __ No (CHECK ONE).

2. Did you exhaust available administrative remedies? XX_ Yes ___ No (CHECK ONE).

See attached grievances and respouises.

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G. REQUEST FOR RELIEF

State the relief you are requesting. If you need more space to complete this section, use extra
paper. The additional requests for relief should be labeled “G. REQUEST FOR RELIEF.”

Claim One: Injunctive relief: establishment of a policy that aljiows
me to receive any legal documentations, regardless of whose name is
in the caption and/or blank forms as necessary. Punitive damages:
An amount to be assessed by a jury and limited by State Statute.

Claim Two: Injunctive relief: Establishment of a policy which allows
all inmates located at the same facility to assist each other within
the confines of that facility's law library and enforcement of the
policy which allegedly allows for that now. Punitive damages: An amount
to be assessed by a jury and limited by State statute.

Claim Three: Injunctive relief: A permanent injunction enjoing the
the named defendant from being deliberately indifferent: to Hazhar A.
Sayed's serious medical meeds and requiring the named official to
provide the constitutionally mandated medical care necessary to treat
Mr. Sayed. Punitive Damages: An amount to be assessed by a jury and
limited by State Statute.

DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that I am the plaintiff in this action, that ] have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. §
1746; 18 U.S.C. § 1621.

Executed On october 18, 2013.
(Date)

Hex Yn Srp oot

< (Prisoner’s Origiffal Signature)

Hazhar A. Sayed, #133608
Fremont Correctional Facility
P.O. Box: 999

Canon City, CO. 81215-0999

(Pro-Se)

(Rev. 1/30/07) 8
Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 10 of 22

Colorado Department of Corrections Offender Grievance Form

Offender Must Complete
Name: Hazhar A.
Grievance number (complete for Steps 2 and 3, only):
instructions:

L. Fill out identifying data in space provided. (Must be legib!c.)

2. Clearly state basis for grievance or grievance appeal.

3. State specifically what remedy you are requesting.

4, Remedy must remain consistent.

| Doc #: 133608

Subject of Gricv and Requested Meaningful Remedy:
interference with inmates mail_implicates_a prison inmate's right to accass —ta—
ithe Courts and tree speech as guaranteed by the stand 14th Amendment ho bhe |
U.S. Constitution. On February 23, 2013, Sqt. Tafoya in (FCF) mall-roan sss
jwetubned to sender Sw blank form", so called mail thbt, T nad received from
my friend. There 15 no reason given. I believe this action is inappromrciate for |
jhendering my efforts to pursue my rights. Moreover, I feel. that, my constitutional
ixiaght to access to the Courts for judicial review and redress _is_bedtog—————

SZ ted ass —a_e ad. 4k ey 463-437 eo. et ate ds 4 fo on Jay
RE BAS COMA EA OF? Nereim set--Ffortns

Remedy, 1) my rights never be violated again in this matters; 2) C.p.0.C/F.c.F.
mail-roon must allow legitimate mail. (even quasi-legal) subject to inspection; _
and the iumate shall allowed to receive his important mail: and 3) IT would ask |
that, the U.S. postal service handle and hands out domates mail._‘Thank you%* |

Date: tune 4, 2073 Offender Signature: jer Map nt ES eng ae _
Case Manager/CPO Must | Facility/Onit/Pod/Paréle “Step (Circle one)
Complete Office/Community Corrections i 2 3

Center: 40 LI

Loe ~—

_—_——
Signature: a
Print Name and,DOC Em ee Id #: - . Date received: -

4 Leo PO ca 17? Ser | E- Sy >
-
Attachment “B”
Page 1 of 1

‘TO BE COMPLETED BY GRIEVANCE COORDINATOR ee
RECEIPT: | acknowledge receipt this date of a complaint from the offender in regards to the following subject. ee.
Date 06/06/2013 [Grievance Coordinator & 1D #_ YAKE, PHYLLIS (15335) ee
RESPONSE ___ oe weve - — nee
The paperwork belonged to another offender which violates 850-06 Offender Property (ie: pictures; smaller pubications; artwork or hobby work).
IGrievance denied ase

TO BE COMPLETED BY RESPONDER ee
Date (06/11/2013 | Responder Name & ID # KOCHEVAR, JON (2233) | Response Date [07/03/2013 _

Disposition | — Denied oe eee
TO BE COMPLETED BY OFFENDER _
RECEIPT: | acknowledge receipt this date of a response from the Department of Corrections, to this grievance. .
if you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the appropriate individual.
Offender Name SAYED, HAZHAR . | DOCNO [133608 _[ Grievance #|R-FF12/13-00042284-1

Date: © 4 7 (> 713 [Offender Signature: C47) os
onan Department file/AIC oo e— Copies: Administrative Head, Offender

Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 11 of 22

DC Form 850-04B (12/15/12)

Colorade Department of Correction

Offender Must Complete
Name: Hazhar A, Sayed Doc #: 133608
Grievance number (complete for Steps 2 and 4, ouly): ~ 12/13~-42284. . eet
Instructions: ee
1. Fill out identifying data in space provided. (Must be legible.)

| 8 Offender Grievance Form
| 2. Clearly state basis for grievance or grievance appeal.

3. State specifically what remedy you are requesting.
4, Remedy must remain consistent.

Subject of Grievance and Requested Meaningful Remedy: |

| 03 February 23, 2013, Sat. Fafoyva in (PCF? msi] AOC etrened to sender. aed

A blank form” so called mail that I had _reacet vwect from tay Caren, ..Dasie

3e0exr. There was oo reason given, contend that, Sgt. Tafoya’s. action was pot
done with regard toward any policy, administrative directive, S3L8S..cur
req“uiationzg in violation of State and Federal protected right. _R. AY.¢.. Step,

Date: July 93, 2013 Offender Signature: Bybee pen we centro
Case Manager/CPO Must Facility/Unit/Pod/Pdrole “| Step ésirete one)
Complete Office/Community Corrections 1 2) 3

i Center: oe

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SD yyvanknanas RAs

Attachment ‘BRB
Page | of |

Date recejved:

BLL L 2...

TO BE COMPLETED BY GRIEVANCE COORDINATOR _. _.
(RECEIPT: | acknowledge receipt this date of a complaint from the offender in regards to the following subject.
| Date 07/11/2013 ( __ —_

| RESPONSE

[Grievance Coordinator & ID # MAKE, PHYLLIS (15335)

|
|
|
|
|

_Denied

| Date (07/12/2013 Responder Name & ID # HUDSON, JAY (4563) _ ___. Response Date 07/15/2013 |
. |
|

| tf you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the appropriate individual. |

| Offender Name SAYED, HAZHAR -ny_-| DOCN7133608" [Grievance #(R-FF12/13-00042284-2

Date: @,) /@/ (4 | Offender Signature > ex —
t “Aiaic LLEZL

a Copies: Administrative Head, Offender
Case No. 1:13-cv- 02961- CMA- MJW Document 1 Tiled 10/29/13 USDC Colorado pg 12 of 22

PC! Form 856-048 (E2/TS/12)

Colorado Depa
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Hanbar A. Gayed

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and conditions berenin smttiewth... Remedy gH h

Attachment “3”
Page loft

‘TO BE COMPLETED BY GRIEVANCE COORDINATOR _

RESPONSE i ee ee ee ne od
see attached | oo oo on oe ee

TO BE COMPLETED BY RESPONDER _ -

| Date 08/26/2013 _| Responder Name & ID # GRIFFITH, MARSHALL (14298) __| Response Date (09/03/2013
‘Disposition’ Not exhausted _ a

O BE | COMPLETED BY OFFENDER _ - cone ~~
RECEIPT: I acknowledge receipt th

date of a response from the Department of Corrections, to this grievance. - —

If you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the he appropriate individual. |
Offender Name SAYED, HAZHAR

Date:09 //3/i% | Offender Signature : Pf Fey x
Original: Mo epartment file/AIC F

Copies: Administrative Head, Offender
Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 13 of 22

STATE OF COLORADO

COLORADO DEPARTMENT OF CORRECTIONS

Office of Step 3 Grievance Officer
2862 South Circle Drive, Suite 148
Colorado Springs, CO 80906-4195
Phone: 719.226.4238

John W. Hickenlooper

Step 3 Grievance Officer
Governor

Rick Raemisch
Executive Director

September 3, 2013

RE: Grievance #R-FF12/13-42284
Dear Mr. Hazhar Sayed #133608 :

| have reviewed your Step 3 grievance that you filed with regard to rejected mail on 2/23/13.

Your grievance is filed out of time. The time frame for filing grievances is outlined in Administrative Regulation 850-04.
You have thirty days from when you knew or should have known of the facts giving rise to this grievance. This action
occurred 2/23/13 and you did not fle the Step 1 until 6/4/13.

You have failed to follow the grievance procedure in this matter; you have not exhausted your administrative
remedies. This is the last administrative action in this matter.

Sincerely,

————

Anthony A. DeCesaro
Grievance Officer

cc: working file
grievance file
Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 14 of 22

DC Form 850-044 (O7/15/19)

Colorado Department of Corrections Offender Grievance Form

Offender Must Complete
Name: piazhar A. Sayed Doc #: 133608
Grievance number (complete for Steps 2 and 3, only):
Justructions:

1. Fill out identifying data in space provided. (Must be legible.)

2. Clearly state basis for grievance or grievance appeal.

3. State specificaHy what remedy you are requesting.

A. Remedy must remain consistent.

Subject of Grievance and Requested Meaningful Remedy:

Since July 2, 2013, I submitted numerous kites and requesting. for lagal
assistance, asking Ms, Brown the law librarian to schedule me with iomate
| Joner, #92839. T was informed by Ms. Brown that, cannot any longer obtain_any]
legal advice or assistance either in the nature. When 7 inguired why mabe
rT was tolet by Ms. Brown, it is security issue. I contend that, har action

inappropriate and in violation of a State. and Federal protected righh.. Moreover)
Ms. Brown's action by denying me to receive legal adwice and legal assistance |

|Erom Mx. Jener, was not done with regards. howard the c.R.0.C/E.E., policy;

junit policy2; aa@ministrative directive: rules, or regulation. There ja no
legitimate penological purpose is served by perventing inmates from helping their
cases, Further, it is the (PoC)'s policy for all. inmates to meet up in the las _
iliberary regarding leqal matters, Accordingly, it is my belief that, Ms. Prown's
preventing me to get legal. advice and legal. assistance jo the law liberary was _|
in wetaliabion for response to my currant suit which is presently pending and.
Wim retaliation for filing on her fellow officers. Simply _mub.~ Remedy,.1)
tty rights. wi Dp this mannen; and _2). iamediately schedule
me Lor an appointment with Mr. Jenaxr, #92839, and Tt hbave a.

p
Date: July 22,2013 Offender Signature: PBB Yee Sd
Case Manager/CPO Must Facility/Unit/Pod/Parole Step ¢ ircle-qne) _
Complete Office/Community Corrections 3
Cn es —> | Center: . . oo

Signature: Aa = a 5
Print Na and tEmployee Id # Date receiyed: oe

pe LIA ene & LES | DLE) “25

Attachment “A™*
Page | of I

TO BE COMPLETED BY GRIEVANCE COORDINATOR

RECEIPT: | acknowledge receipt this date of a complaint from the offender in regards to the following subject.

Date 07/24/2013 __| Grievance Coordinator & ID # NAKE, PHYLLIS (15335)

RESPONSE ____ . eg

issue: Inability to access the law library with an offender that lives on the other side of the facility.

Relief Requested: °1.) my rights never be violated again in this manner, and 2.) immediate schedule me for an appointment with Mr. Jener, #92839,
land | have a deadline due.”

(As explained to Sayed 133608 verbally and in the informal resolution: The FCF Law Library does not provide legal access by mixing offender from

ast side and west side of the facility. Mixing offender access from the two sides of the facility is a security measure that will not be compromised.
Mixing offenders in the law library could cause security issues such as passing items and contraband to the other offender. These offenders are of
different custody levels and the facility keeps them apart. Security and safety of staff and offenders overrides all other operations in CO ‘DOC facilities.
Suggestion, Sayed may request access to the law library with other offenders of his side of the facility or request to be moved to the side of the facility
where Mr. Jenner resides. Sayed has not been denied access to the law library. He may continue to access the law library at FCF. Offender Sayed
has failed to state any claim upon which relief may be granted.
Grievance deniedin whole.

TO BE COMPLETED BY RESPONDER
Date 07/26/2013 | Responder Name & ID # BROWN, YVETTE (10891) | Response Date |07/26/2013
Disposition| Denied sete ete eh I ee
TO BE COMPLETED BY OFFENDER

RECEIPT: l acknowledge receipt this date of a response from the Department of Corrections, to this grievance.
If you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the appropriate individual.
Offender Name _JSAYED, HAZHAR [| DOCNO |1% 33608 _|Grie

Date: OFS PG DI. | Offender Signature Al

Original: Bens le/AIC

Copies: Administrative Head, Offender
,Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colora pg 15 of 22

Colorado Department of Corrections Offender Grievance Form oo.

UGS . ee

YOR ROL Clore

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| Offices jommunity Correcticns La

Attachment “37
Page 1 of }

‘TO BE COMPLETED BY GRIEVANCE COORDINATOR

RECEIPT: | acknowledge receipt this date ofa complaint from the offender in regards to the following subject.

Date (07/31/2013 ' Grievance Coordinator & ID # NAKE, PHYLLIS (15335)

RESPONSE OS a _ ge pg sees een eI
Offender Sayed asks two questions in his Step Ii grievance: 1) whether inmates have a right to assist one another with legal matters, and 2) whether
Ms. Brown retaliated against him in preventing him from meeting another offender in the FCF Law Library.His remedy is to be scheduled with a
particular offender.

Policy is laid out in Administrative Regulation 750-01, section IV.E.1, "Offenders may provide assistance to one another; however, it will be regulated
by time, place, and manner." Further, section IV.E.1.b. states, "Offenders may assist one another inside the law library and outside the law library, if
permitted by facility policy.”

Offender Sayed requested the assistance, in the law library, of an offender housed in a different area of theprison. As Ms. Brown stated in her Step |
response, FCF facility policy is not to mix offenders in the law library housed in different areas of the facility. A number of CDOC facilities require that
only offenders housed together be allowed in the lawibrary at a particular time.

Offender Sayed states that this policy serves no penological purpose and that it is done in violation of "Federal and State protected right." He does not
mention what protected right is being infringed upon, but | presumeit is access to the courts. Numerous decisions have remarked on offender access.

“Prison inmates do not possess the right fo a particular prisoner's help in preparing their legal materials, so long as prison officials make other
assistance available.” Smith v. Maschner, 899 F.2d. 940, 950 (10th Cir. 1990). CDOC provides staffed law libraries with adequate resources to assist
offender in access the courts.

"Offenders are allowed to assist one another, however they are not entitled to the assistance ofan one particular offender if such assistance requires
violating current security requirements.” Shaw v. Murphy, 532 U.S. 223 (2001). "Access to the law library may be restricted, as long as the restrictions
are reasonable.” Parker v. Maus, 2012 U.S.Dist. LEXIS 137490, see Johnson v. Avery, 393 U.S. 483, 490 (1969). In order to schedule offenders in the.
fashion advocated by Offender Sayed, Ms. Brown would have been required to violate FCF policy. Thus, the proposed remedy is not possible.

To summarize, as Ms. Brown was scheduling in accordance with facility and CDOC policy, and in so doing she was addressing a legitimate
penological interest, her refusal to schedule according to Offender Sayed's wishes can't be considered as retaliation. As Ms.Brownstated in her Step |, l!
response, Offender Sayed has not been denied access to the law library or to the courts. As such, no right has been violated.

”

This grievance is DENIED in full.

TO BE COMPLETED BY RESPONDER _ a —
Date 08/05/2013 "Responder Name & ID # STORER, MICHAEL (13029) _ | Response Date |08/22/2013 |

Disposition. ee _Denied oe oo

TO BE COMPLETED BY OFFENDER _
RECEIPT: | acknowledge receipt this date of a response from the Department of Corrections, to this grievance.

Offender Name ‘SAYED, HAZHAR | DOCNO

Date: O04 134 /2 1 3 Offender Signature : Pp Sie
Original: Department file/AIC

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If you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the appropriate ‘individual.

NOT spene “Grievance #/R-FF13/14-00043859-2

Copies: Administrative Head, Offender
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PMT Bespin BSO-O6A COUPE GAELS

rections Offender Grievance Ferm oo,

i € ‘ase Man
| Complete

‘TO BE COMPLETED BY GRIEVANCE COORDINATOR as a —s—s—s
}RECEIPT: | acknowledge receipt this date ofa complaint from the offender i in regards to the following subject.

! Date 08/30/2013 Grievance Coordinator & IDF NAKE, PHYLLIS (15335)
RESPONSE
see attached a

‘TO BE COMPLETED BY RESPONDER a -
| Date 09/23/2013 / “Responder Name & ID # GRIFFITH, MARSHALL (14298) | Response Date |09/26/2013_

Disposition - Not exhausted

TO BE COMPLETED BY OFFENDER)
,RECEIPT: | acknowledge receipt this date of a response from the Department of Corrections, to this grievance.

| If you are dissatisfied with the response to this grievance, you may obtain further review by submitting | the next step to the appropriate. individual.
‘Offender Name SAYED, HAZHAR pol 33608 Grievance #|R- FF13/14- 00043859- -3

‘Date: 0/3/20 \3 Offender Signature : $7
e

Original: Department file/AIC

Copies: Administrative Head, Offender
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STATE OF COLORADO

COLORADO DEPARTMENT OF CORRECTIONS

Office of Step 3 Grievance Officer
2862 South Circle Drive, Suite 148
Colorado Springs, CO 80906-4195
Phone: 719.226.4238

John W. Hickenlooper

Step 3 Grievance Officer
Govemor

Rick Raemisch
Executive Director

September 26, 2013

RE: Grevance #R-FF13/14-43859

Dear Mr. Hazhar Sayed #133608:

| have reviewed your Step 3 grievance that you filed with regard to legal assistance from other offenders at FCF
and Law Library scheduling.

The Step 3 grievance that you filed in this matter is inconsistent with your Step 1 and/or Step 2 grievances that were
previously considered. The grievance procedure is outlined in Administrative Regulation 850-04, Only one issue may
be addressed, per grievance. in AR 850-04 at D. 7. it states, “All issues and remedies contained in the original
grievance must be incorporated into each subsequent step of the grievance. Failure to renew each element of the
complaint and/or requested relief in subsequent steps shall be deemed a waiver of those elements and/or requested

remedy.”

In this instance the Step 1 and Step 2 Grievances all regard you requesting to be scheduled in the Law Library
with another offender that is from another area of the facility. However in the Step 3 Grievance you add another
issue when you claim that you are not being scheduled enough times in the Law Library. In addition the
remedies you request at the Step 1 and Step 2 levels are also inconsistent with the remedy you seek in the
Step 3.

You failed to follow the grievance procedure in this matter; you have not exhausted your administrative
remedies. This is final administrative action in this matter.

The time constraints outlined in AR 850-04 have also been violated, so there will no further review of this matter.

Sincerely,

ae

Anthony A. DeCesaro
Grievance Officer

Cc: working file
grievance file
Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 19 of 22

*

DC Form &50-04A (07/15/11)

Colorado Department of Corrections Offender Grievance Form
Offender Must Complete
Name: Hazhar A. Sayed
Grievance number (complete for Steps 2 and 3, only):
| Instructions:
1. Fill out identifying data in space provided. (Must be legible.)
2. Clearly state basis for grievance or grievance appeal.
3. State specifically what remedy you are requesting.
4. Remedy must remain consistent.

Subject of Grievance and Requested Meaningful R.: ay:
| Deliberate indifference to serious dental need is unconstitutional.

| soe Farrow ve West, 320 F.2d 1235. Moreover, Per A.R-, 700-30,
| requires that an inmate needed to wait until one year wait time

| Doc #133608

| before receiving dental treatment. However, in December 22, 2011
I submitted a kite for “tooth” treatment and cleaning, as allowefi

Liny yonr own policy. Toordate no avail, As a result, T am sufferin
| irreversih'.: danage to my teeth and gum, in violation of 8th

and 14th Amendment protections. Remedy, 1):T am asking for

| dental treatment and cleaning, under the standard of the
treatmenS pi>2%2Cc0l established by the Gdepartement. Simply put**

Date: May 22, 2013 Offender Signanre: Bef on ann peut

Case Manager/CPO Must | Facility/Unit/Pod/Parole Step (Circle one)

Complete Office/Community Corrections @® 2 3
Center:

Pt ‘Name and Employee Id *~ Date received =

Attachment “A”
Page 1 of 1

TO BE COMPLETED BY GRIEVANCE COORDINATOR

RECEIPT: | acknowledge receipt this date of a complaint from the offender in regards to the following subject.

Date (05/28/2013 [ Grievance Coordinator & iD # OLIVER, MARGARETHE (14873)

RESPONSE

SAYED HAD HIS TEETH CLEANED 8/17/11.ON 5/18/12 HE WAS ADVISED TO PUT INA KITE AFTER AUG 2012 . THIS RESULTED IN
IAN ALTERCATION IN THE MEDICAL CLINIC .CURRENTLY NO KITE ISINPLACE . THIS ISOVER THE 30 DAYS FROM THE DATE
THE OFFENDER KNEW OF THE FACTS CONCERNING THE GRIEVANCE .

TO BE COMPLETED BY RESPONDER

Date /05/28/2013 | Responder Name & 1D # WISHART, JAMES (3006) [Response Date [06/07/2013
Disposition| _.__ Denied

TO BE COMPLETED BY OFFENDER

RECEIPT: | acknowledge receipt this date of a response from the Department of Corrections, to this grievance.

If you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the appropriate individual.

| Offender Name [SAYED, HAZHAR | DOCNO [133698 [Grievance #|C-FF12/13-00041772-1

Dateae(- //$// 3  |Offender Signature: #437) Oey
Original: Department file/AIC . / , Copies: Administrative Head, Offender

Case No. 1:13-cv-02961-CMA-MJW Document 1 filed 10/29/13 USDC Colorado pg 20 of 22

IDC Form 850-04B (82/15/12)

Coloradv Department of Corrections Offender Grievance Form
Offender Must Complete

Name: Hazhar A. Sayed
Grievance number (complete for Steps 2 and 3, only):
Instructions:

1. Fill out identifying data in space provided. (Must be legible.)

2. Clearly state basis for grievance or grievance appcal.

3. State specifically what remedy you are requesting.

4. Remcdy must remain consistent.

| Doc #: 133608
C=FF12/13-041772-1

Subject of Grievance and Requested Meaningful Remedy:

[Deliberate indifference to serious Gental need is uncanstitutionall

See Farrow v. West, 320 F.2d 1235.

Moreover, Per A,-R., 7OO-30, |
ixeguires that, an inmate needed to wait until one year wait time |

before receiving dental treatment. However, in December 22, 20114, |

i submitted a medical kite for “tooth™ treatment and cleaning, as

allowed by your own policy Toe date no avail As

@Feciu it Tt anr-
suffering ir-reversihble damage to my teeth and gum

in violation
af 8th and 14th Amendment protections

Gental treatment and cleaning,

Ramedy ty» I am asking for
xr # =

under the standard of the treatment
we
Date: June 11, 2013 Offender Signature: 7ya-Q9 £7 a ey
Case Manager/CPO Must Facility/Unit/Pod/Parole ec Step Circle one)
Complete Office/Comyunt Corrections 1 3
Center: 7-7 COLES
~— é 7

Signature: Lo
Print Name and DOC ployee Id #: | Date received:

OO Pee MOP FP EVE Le

Attachment “B”
Page | of !

TO BE COMPLETED BY GRIEVANCE COORDINATOR _
RECEIPT: | acknowledge receipt this date of a complaint from the offender in regards to the following subject.
Date [06/13/2013 | Grievance Coordinator & 1D # JOLIVER, MARGARETHE (14873)

RESPONSE
offender Sayed,

Your last teeth cleaning was performed 8/7/11. You are permitted one cleaning per year per the AR. Per your grievance you submitted the next kite on
12/22/11 which is only 4 months after you had your teeth cleaned. Our records show yousubmitted a kite for the next cleaning 9 months later on 5/8/12. You
were advised that this was to early and you did not qualify to have your teeth cleaned at this time. You were advised to submit a kite for teeth cleaning after
8/12/12. Please submit a kite to have your teeth cleaned and you will be scheduled accordingly.

TO BE COMPLETED BY RESPONDER
Date (06/13/2013 | Responder Name & ID # [TESSIER, DAVID (17375) [Response Date [07/01/2013
Disposition] __Denied _

TO BE COMPLETED BY OFFENDER

RECEIPT: i acknowledge receipt this date of a response from the Department of Corrections, to this grievance. -
|_|f you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the appropriate individual.
Offender Name JSAYED, HAZHAR __ | DOCNO [133608 —_ [Grievance #|C-FF12/13-00041772-2

Date: *9-/°) / (4A [Offender Signatures “~">~ -
Original: Department Tile/AIC

Copies: Administrative Head, Offender
Case No. 1:13-cv-02961-CMA-MJW_ Document 1 filed 10/29/13 USDC Colorado pg 21 of 22

-

DC Form 850-04B (12/15/12)

Colorado Department of Corrections Offender Gricvance Form
Offender Must Complete

Name: Hazhar A. Sayed | Dec #: 133608
Grievance number (complete for Steps 2 and 3, only): 12/13~41772
Instructions:

1. Fill out identifying data in space provided. (Must be legible.)
2. Clearly state basis for grievance or grievance appeal.

3. State specifically what remedy you are requesting.

4. Remedy must remain consistent.

Subject of Grievance and Requested Meaningful Remedy: |

The Gth Amendment prohibits the imposition of cruel] and unusual punishments |
|} and embodies broad and idealistics concepts of dignity, civilized standards, —|
| humanity and Gecency when prison officials knows of and disregards an _|
excessive risk to inmate health and safety. On December 22, 2011, T submitted |
a medical kite for “tooth cleaning” as allowed by your own protecal and
| policy. To date no avail. As a result, I am suffering irreversible damage to |
my teeth and gum in violation of tst; 8th and 14th Amendment protections. ]
R dy, step (2) be overturn

Date: July 9. 2013 Offender Signature: 24g Seep ef
Case Manager/CPO Must Facility/Unit/Pod/Parole a“ Step (Circle one)
Complete Office/Community Corrections 1 2 Gs)
Center:
Signature; EA Sst
Print e D Employee tag _ Date Footy eds
ees NAN AAS OSS “PHO J
Attachment “B”
Page 1 of i

TO BE COMPLETED BY GRIEVANCE COORDINATOR
RECEIPT: | acknowledge receipt this date of a complaint from the offender in regards to the following subject.
Date [07/15/2013 | Grievance Coordinator & ID # JOLIVER, MARGARETHE (14873)

RESPONSE
See attached response.

TO BE COMPLETED BY RESPONDER
Date [07/23/2013 | Responder Name & ID # DECESARO, ANTHONY (10983) | Response Date [07/25/2013
Disposition| Denied
TO BE COMPLETED BY OFFENDER
RECEIPT: | acknowledge receipt this date of a response from the Department of Corrections, to this grievance.

If you are dissatisfied with the response to this grievance, you may obtain further review by submitting the next step to the appropriate individual.
Offender Name ISAYED, HAZHAR | DOCNO [133608 —_| Grievance #|C-FF12/13-00041772-3
Date: o7}/ 4 / / 3 | Offender Signature: )\

Original: Department file/AIC —— Copies: Administrative Head, Offender

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STATE OF COLORADO

COLORADO DEPARTMENT OF CORRECTIONS

Office of Step 3 Grievance Officer
2862 South Circle Drive, Suite 148
Colorado Springs, CO 80906-4195
Phone: 719.226.4238

Step 3 Grievance Officer
John W. Hickeniooper
Govemor

July 25, 2013
Roger Werholts

Interim Executive Director

RE: Grievance #C-FF12/13-00041 772-3
Dear Mr. Hazhar Sayed #133608:
| have reviewed your Step 3 grievance that you filed with regard to dental treatment.

In review of this matter I find that you have been evaluated by dentist at FCF. | cannot second guess the
professional opinion of the dentist regarding your diagnosis and treatment, as | am not a dental professional.
Your treatment appears to be adequate and appropriate for your condition. | have reviewed your requested for
additional dental cleaning and | find that routine dental cleanings are not a covered benefit; please see AR 700-
04 under dental services not provided. A cleaning may be ordered if clinically indicated. You may however
request a private dentist appointment at your expense, if approved, per AR 700-21. | do not find that DOC was
or is deliberately indifferent to your dental condition and therefore | cannot recommend any relief in this matter.

It is your burden to prove your allegations stated in your Step 3 grievance. | have reviewed the facts of
this case and determined that you did not meet this burden. There was no corroborating evidence to
provide proof of your allegations.

Your request for relief is denied. This is the final administrative response in this matter and you have exhausted
your administrative remedies.

Sincerely,

Sa

Anthony A. DeCesaro
Grievance Officer

Cc: working file
‘grievance file
